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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )              Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)

                                           ORDER

       Pursuant to Fed. R. Civ. P. 58 and for the reasons stated in the accompanying Memorandum

Opinion, it is ORDERED that defendant’s Motion to Dismiss [Dkt. # 69], Motion to Enjoin the

Prosecution [Dkt. # 71], Motion to Dismiss Due to Defects in the Indictment Pursuant to Fed. R.

Crim. P. 12(b)(3)(B) [Dkt. # 72], and Motion for Discovery based on Selective Prosecution [Dkt.

# 73] are hereby DENIED.

       It is FURTHER ORDERED that defendant’s Motion to Compel the Complete Report of

the Special Counsel [Dkt. # 70] is hereby GRANTED IN PART and DENIED IN PART. As

ordered by the Court, the government provided certain unredacted portions of the Report of the

Special Counsel ex parte for the Court’s in camera review. See Min. Order (May 9, 2019); Gov’t

Notice Regarding In Camera Submission [Dkt. # 106]. Upon review of the redacted information

in those portions, and upon consideration of the government’s notice regarding those materials,

see Government’s Notice Regarding In Camera Submission [Dkt. # 130], it is ordered that the

government shall produce in unredacted form to defendant by August 8, 2019 the following
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information as it appears on the following pages and in blue boxes submitted ex parte in camera

to the Court on May 13, 2019:


           •   Executive Summary: the material on page 5 and the last paragraph on
               page 9;

           •   Volume One: the material found in the first 3 sentences of the second
               paragraph on page 36 (i.e., not including the sentence that begins “The
               investigation . . . .”), on page 44, in the second sentence of the introductory
               paragraph of section III.D. on page 51, in the heading of section III.D.1. and
               the full paragraph in section III.D.1.a. on page 51, on pages 52–59 through
               the end of section III.D.1.d., on page 65, and on pages 196–197; and the
               material designated with blue boxes on pages B-3 through B-10.

       It is further ORDERED that the defense shall not distribute this information, which is

covered by the Protective Order [Dkt. # 22] in this case, to anyone outside the defense team or use

it for any purpose outside of Mr. Stone’s defense in this matter.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: August 1, 2019
